 Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 1 of 10 PageID 1




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                                                CASE NO:

ASHLEY RAMOS-RIVERA, and
all others similarly situated under
29 U.S.C. 216(b),

       Plaintiff(s),

       v.

REDROCK TRAVEL GROUP, LLC,
CARDIFF LEXINGTON CORPORATION,
JAY JAHID, individually,
FERNANDA JAHID, individually, and
ROLLAN ROBERTS, individually,

       Defendants.

                                          /

                                               COMPLAINT

       Plaintiff, ASHLEY RAMOS-RIVERA (“Plaintiff”), pursuant to 29 U.S.C. § 216(b), files

the following Complaint against Defendants,            REDROCK TRAVEL GROUP, LLC

(“REDROCK”), CARDIFF LEXINGTON CORPORATION (“CARDIFF”), JAY JAHID (“J.

JAHID”), FERNANDA JAHID (“F. JAHID”), and ROLLAN ROBERTS (“ROBERTS”),

individually (collectively referred to hereinafter as “Defendants”), on behalf of himself, and all

others similarly situated, and alleges:

                                              INTRODUCTION

   1. Defendants have unlawfully deprived Plaintiff, and all other employees similarly situated,

       of federal minimum wage compensation during the course of their employment. This is an

       action arising under the Fair Labor Standards Act (“FLSA”) pursuant to 29 U.S.C. §§ 201-
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 2 of 10 PageID 2




    216, to recover all wages owed to Plaintiff, and those similarly situated to Plaintiff, during

    the course of their employment.

                                         PARTIES

 2. During all times material hereto, Plaintiff was a resident of the Middle District of Florida,

    over the age of 18 years, and otherwise sui juris.

 3. During all times material hereto, Defendant, REDROCK, was a Florida limited liability

    company located and transacting business within Orlando, Florida, within the jurisdiction

    of this Honorable Court. REDROCK operates its principal location at 11951 International

    Drive, Suite 2B1 in Orlando, Florida 32821.

 4. During all times material hereto, Defendant, J. JAHID, was and is a resident of the Middle

    District of Florida and was managing member, owner, CEO, and operator of REDROCK

    within Orlando, Florida.

 5. During all times material hereto, Defendant, J. JAHID, was over the age of 18 years, and

    was vested with ultimate control and decision-making authority over the hiring, firing, and

    pay practices for Defendant, REDROCK, during the relevant time period.

 6. During all times material hereto, Defendant, F. JAHID, was and is a resident of the Middle

    District of Florida and was Controller of REDROCK within Orlando, Florida.

 7. During all times material hereto, Defendant, F. JAHID, was over the age of 18 years, and

    was vested with ultimate control and decision-making authority over the payroll and pay

    practices for Defendant, REDROCK, during the relevant time period, and further acted on

    behalf of REDROCK as its Controller.




                                              2
    Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 3 of 10 PageID 3




     8. During all times material hereto, Defendant, CARDIFF1, was a Colorado corporation

        transacting business within Orlando, Florida, within the jurisdiction of this Honorable

        Court. CARDIFF operates its registered address in the State of Florida at 401 E. Las Olas

        Blvd. Suite 1400, Fort Lauderdale, Florida 33301.

     9. During all times material hereto, Defendant, ROBERTS, was over the age of 18 years, and

        was a corporate officer, and vested with ultimate control and decision-making authority

        over the hiring, firing, and pay practices for Defendant, CARDIFF, during the relevant time

        period.

     10. Defendant, REDROCK was Plaintiff’s employer, as defined by 29 U.S.C. § 203(d), during

        all times pertinent to the allegations herein.

     11. Defendant, J. JAHID, was also Plaintiff’s employer, as defined by 29 U.S.C. § 203(d),

        during all times pertinent to the allegations herein.

     12. Defendant, F. JAHID, was also Plaintiff’s employer, as defined by 29 U.S.C. § 203(d),

        during all times pertinent to the allegations herein.

     13. Defendant, CARDIFF, was also Plaintiff’s employer, as defined by 29 U.S.C. § 203(d),

        during all times pertinent to the allegations herein.

     14. Defendant, ROBERTS, was also Plaintiff’s employer, as defined by 29 U.S.C. § 203(d),

        during all times pertinent to the allegations herein.

                                  JURISDICTION AND VENUE

     15. All acts and omissions giving rise to this dispute took place within Orlando, Florida.




1 On information and belief, Cardiff International Inc. filed its Certificate of Domestication in the
State of Florida on August 22, 2014, and filed Articles of Amendment to the Articles of
Incorporation to change its named to Cardiff Lexington Corporation on December 27, 2017.

                                                   3
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 4 of 10 PageID 4




 16. Defendant, REDROCK, is headquartered and regularly transacts business in Orlando,

    Florida, and jurisdiction is therefore proper within the Middle District of Florida pursuant

    to 29 U.S.C. § 216(b) and 28 U.S.C. §§ 1331 and 1337.

 17. Defendant, CARDIFF, regularly transacts business in Orlando, Florida, and jurisdiction is

    therefore proper within the Middle District of Florida pursuant to 29 U.S.C. 216(b) and 28

    U.S.C. 1331 and 1337.

 18. Defendant, ROBERTS, purposefully availed himself of the privileged of doing business in

    the State of Florida and has violated federal law in the State of Florida, and is therefore

    subject to long-arm jurisdiction under Florida law.

 19. Venue is proper within the Middle District of Florida pursuant to 29 U.S.C. § 216(b) and

    28 U.S.C. § 1391(b).

                               GENERAL ALLEGATIONS

 20. Defendant, REDROCK, specializes in developing leads for timeshare and vacation club

    industries and has been operating in the State of Florida since 2014.

 21. Defendant, REDROCK, also provides discounted theme park tickets, highly discounted

    travel, and engages in significant online, media, and offline advertising that directs traffic

    to online websites or to state-of-the-art call centers.

 22. In May 2018, CARDIFF, engaged in a definitive merger agreement with REDROCK under

    which REDROCK merged into CARDIFF as its subsidiary in an all-stock transaction.

 23. As a result of the merger, CARDIFF took control of REDROCK operations and all of its

    employees and agents.

 24. Defendant, REDROCK, is not exempt from FLSA coverage.

 25. Defendant, CARDIFF, is not exempt from FLSA coverage.




                                               4
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 5 of 10 PageID 5




 26. Defendant, REDROCK, is covered under the FLSA through enterprise coverage, as

    REDROCK was engaged in interstate commerce during all pertinent times in which

    Plaintiff was employed. More specifically, REDROCK was also engaged in interstate

    commerce by virtue of the fact that its business activities involved those to which the FLSA

    applies. Defendant, REDROCK’s business and Plaintiffs’ work for REDROCK affected

    interstate commerce because the materials and goods that Plaintiff used on a constant

    and/or continuous basis moved through interstate commerce prior to or subsequent to

    Plaintiff’s use of the same.

 27. During her employment with Defendant, REDROCK, Plaintiff, and all other similarly

    situated employees, handled and worked with various goods and/or materials that have

    moved through interstate commerce, including, but not limited to: telephones, wirings,

    pens, notepads, computers, cellular telephones, order forms, and other office related items.

 28. Defendant, REDROCK, also regularly employed two (2) or more employees for the

    relevant time period, who handled goods or materials similar to those goods and materials

    handled by Plaintiff, or used the instrumentalities of interstate commerce, or the mails, thus

    making Defendant, REDROCK’s business an enterprise covered by the FLSA.

 29. Upon information and belief, Defendant, REDROCK, grossed or did business in excess of

    $500,000.00 during the years of 2016, 2017, 2018, and is expected to gross in excess of

    $500,000.00 in 2019.

 30. Defendant, CARDIFF, is covered under the FLSA through enterprise coverage, as

    CARDIFF was engaged in interstate commerce during all pertinent times in which Plaintiff

    was employed. More specifically, CARDIFF was also engaged in interstate commerce by

    virtue of the fact that its business activities involved those to which the FLSA applies.




                                              5
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 6 of 10 PageID 6




    Defendant, CARDIFF’s business and Plaintiffs’ work for CARDIFF affected interstate

    commerce because the materials and goods that Plaintiff used on a constant and/or

    continuous basis moved through interstate commerce prior to or subsequent to Plaintiff’s

    use of the same.

 31. During her employment with Defendant, CARDIFF, Plaintiff, and all other similarly

    situated employees, handled and worked with various goods and/or materials that have

    moved through interstate commerce, including, but not limited to: telephones, wirings,

    pens, notepads, computers, cellular telephones, order forms, and other office related items.

 32. Defendant, CARDIFF, also regularly employed two (2) or more employees for the relevant

    time period, who handled goods or materials similar to those goods and materials handled

    by Plaintiff, or used the instrumentalities of interstate commerce, or the mails, thus making

    Defendant, CARDIFF’s business an enterprise covered by the FLSA.

 33. Upon information and belief, Defendant, CARDIFF, grossed or did business in excess of

    $500,000.00 during the years of 2016, 2017, 2018, and is expected to gross in excess of

    $500,000.00 in 2019.

 34. During all material times hereto, Plaintiff, and all others similarly situated, was a non-

    exempt employee of Defendants, REDROCK, CARDIFF, JAHID, and ROBERTS, within

    the meaning of the FLSA.

 35. Plaintiff worked as a non-exempt employee for Defendants, REDROCK and CARDIFF

    during time periods within the last three (3) years.

 36. During all time periods hereto, Defendants, J. JAHID, F. JAHID, and ROBERTS,

    maintained control over the day-to-day operations of REDROCK and CARDIFF, including

    the payroll, hiring, firing, and scheduling duties.




                                              6
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 7 of 10 PageID 7




 37. Defendant, J. JAHID, was the managing member of Defendant, REDROCK, and

    controlled the company’s payroll practices, and was vested with ultimate decision-making

    authority for Defendant, REDROCK.

 38. Defendant, F. JAHID, was the Controller of Defendant, REDROCK, and controlled the

    company’s payroll practices, and was vested with ultimate decision-making authority on

    pay practices for Defendant, REDROCK.

 39. Defendant, ROBERTS, was a corporate officer of Defendant, CARDIFF, and controlled

    the company’s payroll practices, and was vested with ultimate decision-making authority

    for Defendant, CARDIFF.

 40. Plaintiff, and similarly situated individuals, were employed by Defendants, REDROCK

    and CARDIFF, as a non-exempt employee whose duties comprised of assisting in the sales

    divisions.

                   FLSA Violations During Plaintiff’s Employment

 41. During Plaintiff’s employment, the Defendants, REDROCK, CARDIFF, J. JAHID, and

    ROBERTS, assigned Plaintiff to work multiple workweeks in which Defendants failed and

    refused to compensate Plaintiff.

 42. From October 22, 2018, through October 28, 2018, Defendants failed to properly

    compensate Plaintiff pursuant to federal law for the hours she worked.

 43. From October 29, 2018, through November 2, 2018, Defendants failed to properly

    compensate Plaintiff pursuant to federal law for the hours she worked.

 44. From November 5, 2018, through November 11, 2018, Defendants failed to properly

    compensate Plaintiff pursuant to federal law for the hours she worked.




                                            7
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 8 of 10 PageID 8




 45. Defendants failed to properly compensate Plaintiff pursuant to federal law for hours

    worked in these workweeks, notwithstanding the fact that Plaintiff performed work for the

    benefit of Defendants.

 46. Plaintiff worked an average of at least 37.5 hours per week during this time period.

 47. Accordingly, Plaintiff is entitled to recover at least $271.87 per week for each of these

    three (3) workweeks in which Defendants refused to pay Plaintiff for a total of $815.62.

 48. However, Defendants’ actions were intentional and/or willful and Plaintiff is therefore

    entitled to an additional amount of liquidated (double) damages for wages in the amount

    of $815.62.

                               Plaintiff Exercises His Rights

 49. On or about December 6, 2018, Plaintiff, through undersigned counsel, informed

    Defendants of their violations of law.

 50. Defendants have failed to properly compensate Plaintiff pursuant to federal law

    notwithstanding Plaintiff’s pre-suit efforts to resolve this dispute.

 51. Minimum wage payments to Plaintiff remain due and owing.

 52. During Plaintiff’s employment, the Defendants failed to maintain adequate and

    contemporaneous time records as required by the FLSA.

 53. Defendants were either recklessly indifferent as to the overtime requirements under federal

    law, or, in the alternative, intentionally violated federal law so that the Defendants could

    avoid having to pay Plaintiff, and others similarly situated, their lawful (and hard-earned)

    wages.

 54. Based upon Defendants’ intentional and/or willful violations of the FLSA, the three (3)

    year statute of limitations applies instead of the two (2) year statute of limitations.




                                               8
 Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 9 of 10 PageID 9




   55. As a result of the above violations of federal law, Plaintiff has had retain the undersigned

       counsel to prosecute these claims and is therefore entitled to an award of reasonable

       attorney’s fees and costs under the FLSA.

    COUNT I – FEDERAL MINIMUM WAGE LAW VIOLATIONS – 29 U.S.C. § 206
                          (against All Defendants)

   56. Plaintiff re-avers and re-alleges Paragraphs 1 through 56 above, as though fully set forth

       herein.

   57. Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b).

   58. Plaintiff is entitled to: (i) federal minimum wages; and (ii) liquidated damages pursuant to

       the FLSA.

   59. Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

       and attorneys’ fees pursuant to 29 U.S.C. 216(b).

   WHEREFORE, Plaintiff, ASHLEY RAMOS-RIVERA, demands judgment against

Defendants, REDROCK TRAVEL GROUP, LLC, CARDIFF LEXINGTON CORPORATION,

JAY JAHID, individually, FERNANDA JAHID, individually, and ROLLAN ROBERTS,

individually, and respectfully requests that he be awarded the following relief: (a) unliquidated

damages to be paid by the Defendants jointly and severally; (b) liquidated damages to be paid by

the Defendants jointly and severally; (c) reasonable attorney’s fees and costs to be paid by the

Defendants jointly and severally; and any and all such further relief as may be deemed just and

reasonable under the circumstances.

                                DEMAND FOR JURY TRIAL

       Plaintiff, ASHLEY RAMOS-RIVERA, hereby requests and demands a trial by jury on all

appropriate claims.

       Dated this 25th day of January, 2019.



                                                9
Case 6:19-cv-00174-ACC-GJK Document 1 Filed 01/25/19 Page 10 of 10 PageID 10




                                               Respectfully Submitted,

                                               USA EMPLOYMENT LAWYERS –
                                               JORDAN RICHARDS, PLLC
                                               805 East Broward Blvd. Suite 301
                                               Fort Lauderdale, Florida 33301
                                               Ph: (954) 871-0050
                                               Counsel for Plaintiff, Ashley Ramos-Rivera

                                               By: /s/ Jordan Richards
                                               JORDAN RICHARDS, ESQUIRE
                                               Florida Bar No. 108372
                                               jordan@jordanrichardspllc.com
                                               melissa@jordanrichadrspllc.com
                                               livia@jordanrichardspllc.com
                                               jake@jordanrichardspllc.com


                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the foregoing document was filed via CM/ECF on this 25th of

January 2019.

                                                      By: /s/ Jordan Richards, Esquire
                                                      JORDAN RICHARDS, ESQ.
                                                      Florida Bar No. 108372


                                  SERVICE LIST:




                                          10
